     Case 1:10-cv-00110-RFC-CSO Document 19 Filed 01/20/11 Page 1 of 4



            IN THE UNITED STATES DISTRICT COURT

                 FOR THE DISTRICT OF MONTANA

                          BILLINGS DIVISION

 JESSE BROWN,                             CV 10-110-BLG-RFC-CSO

                  Plaintiff,
                                           SCHEDULING ORDER
      vs.

 MATTINGLY TESTING
 SERVICES, INC. (MTS, INC.), a
 Montana Business Corporation,

                  Defendant.

     A telephonic preliminary pretrial conference was held in this

matter on January 20, 2011. Robert L. Stephens, Jr. represented the

Plaintiff. Steven J. Lehman represented the Defendant. After

discussion and upon the agreement of the parties, this Order is hereby

entered.

1.   The following deadlines govern all further pretrial proceedings:

Continuance of these deadlines will not be granted, absent good
cause. A continuance of any deadline set by this order will not extend
any other deadline.




                                    1
     Case 1:10-cv-00110-RFC-CSO Document 19 Filed 01/20/11 Page 2 of 4



Motions to Amend Pleadings
(Including Joinder of Parties):               March 31, 2011

Simultaneous Serving of all Liability
Expert Disclosures:                           July 1, 2011

Serving of Plaintiff’s Damage
Expert Disclosures:                           August 1, 2011

Serving of Defendant’s Damage
Expert Disclosures:                           September 1, 2011

Serving of Plaintiff’s Rebuttal
Expert Disclosures:                           September 19, 2011

Discovery Deadline (discovery must be served
so that responses are due on or before
this date):                                November 1, 2011

Request for Settlement Conference:            November 1, 2011

Motions Deadline (Except Motions to
Amend Pleadings and Motions
in Limine):                                   November 28, 2011


     IT IS FURTHER ORDERED:

2.   FURTHER SCHEDULING

     Following disposition of motions, the parties shall contact the
     Chambers of Chief United States District Judge Richard F. Cebull
     for further scheduling.




                                    2
     Case 1:10-cv-00110-RFC-CSO Document 19 Filed 01/20/11 Page 3 of 4



3.   STIPULATIONS

     The parties stipulate as follows:

     (a)   Plaintiff was hired by Mattingly Testing Services, Inc., on
           March 16, 2009, as a Technician’s assistant.

     (b)   Plaintiff was discharged on September 4, 2009, during his
           probationary period.

     (c)   Plaintiff’s claim is brought under 42 U.S.C. § 5851 and not
           under 29 U.S.C. § 660.

4.   MOTIONS

     Briefing of all motions shall be in accordance with Local Rule
     (“L.R.”) 7.

5.   DISCOVERY

     (a)   Interrogatories and requests for production must be served
           no later than 33 days prior to the discovery deadline
           specified in Paragraph 1 above.

     (b)   During discovery, exhibits shall be numbered seriatim.
           Numbers used for exhibits during discovery shall be
           identically used at trial.

6.   EXPERT REPORTS

     (a)   An inadequate report or disclosure under Fed. R. Civ. P.
           26(a)(2)(B) may result in exclusion of the expert’s opinions
           at trial even though the expert has been deposed. In this
           regard, a treating physician is not considered an expert
           witness unless the testimony offered by the treating
           physician goes beyond care, treatment, and prognosis. If the


                                    3
Case 1:10-cv-00110-RFC-CSO Document 19 Filed 01/20/11 Page 4 of 4



      treating physician’s testimony goes beyond care, treatment,
      and prognosis then there must be full compliance with the
      discovery requirements of Fed. R. Civ. P. 26(a)(2)(B).

(b)   Rebuttal Experts identified and disclosed under
      Fed.R.Civ.P. 26(a)(2) are limited to those persons expected
      to be called as experts to contradict, rebut, or impeach,
      expert opinions on new subject matter identified by another
      party which could not reasonably have been anticipated at
      the time of the initial disclosures.

DATED this 20th day of January, 2011.

                             /S/ Carolyn S. Ostby
                             United States Magistrate Judge




                               4
